Case 2:05-mc-00026-.]DB-dkv Document 7 Filed 07/11/05 Page 1 of 7 Page|D 7

Fll.ED BY _,_,, D.C:
IN THE UNITED sTATEs DISTRICT coURT
FoR THE wEsTERN DISTRICT oF TENNESSEE ,
wEsTERN DIVISION 85 JUL n PH 3` ha

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sTEPHANIE D. sANDRIDGE, as V.$D O`F'gf-;§§E,‘=,MS

Administrtrix of the Estate of
GREGORY D. CROSS, deceased,

Plaintiff,
vs.

NO. 05-MC-026BV

FORD MOTOR COMPANY,

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Defendant.

 

REPORT AND RECOMMENDATION AND CERTIFICATION OF FACTS CONSTITUTING
CONTEMPT PURSUANT TO 28 U.S.C. § 536(€)

 

Before the court is the motion of the defendant, Ford Motor
Company, to hold Barbara Lester in civil contempt for failing to
appear and testify at a deposition after being served with a valid
subpoena requiring her to appear and testify under oath in regards
to a civil action pending before the United States District Court
for the Northern District of West Virginia, styled, Stephanie D.
Sandridge, as Administratrix of the Estate of Gregory D. Cross,
Deceased, v. Ford Motor Company, No. 2:O4CV18. Ford also seeks an
award of attorney fees and expenses it has incurred in connection
with this motion. The motion was referred to the United States
Magistrate Judge for determination and/or a report and
recommendation.

Pursuant to the reference, a show cause order was issued

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Case 2:05-mc-00026-.]DB-dkv Document 7 Filed 07/11/05 Page 2 of 7 Page|D 8

directing Lester to appear and show cause why she should not be
compelled to give a deposition and why she should not be held in
contempt of court for failing to comply with a lawful subpoena and
appear for a deposition. For the reasons set forth below, it is
recommended that a show cause order be issued to Lester to appear
before the district court and show cause why she should not be held
in contempt of court.l
CERTIFIED FACTS

The following facts are certified to the district court. On
March 8, 2004, the plaintiff, Stephanie Sandridge, administratrix
of the estate of Gregory Cross, filed a wrongful death complaint
against Ford Motor Company in the U.S. District Court for the
Northern District of West Virginia. Cross died as a result of
injuries sustained in a traffic accident when the Bronco II in
which he was a passenger rolled over. The Bronco was driven by
Barbara Lester.

As part of the discovery, Ford issued a subpoena from the
Western District of Tennessee and served the subpoena on Barbara
Lester directing her to appear and be deposed on March ll, 2005, in

Memphis, Tennessee, where she resides. The deposition was

 

1 Because the relief sought by defendant exceeds the

magistrate judge's contempt authority, a report and
recommendation and a certification of contempt under 28 U.S.C.
§636(e)(6)(B)(iii) is issued instead of a determination.

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Case 2:05-mc-00026-.]DB-dkv Document 7 Filed 07/11/05 Page 3 of 7 Page|D 9

continued and reset for March 24, 2005 at the request of Lester.
The March 24, 2005 deposition was then continued in order to allow
Lester to obtain counsel. Ford issued a new subpoena and
rescheduled Lester’s deposition for April 25, 2005. Counsel for
Lester appeared and advised that Lester would not appear due to
medical concerns. On May 20, 2005, counsel for Lester withdrew.
On May 26, 2005, Ford, pursuant to Rule 45, issued another subpoena
and served it on Lester by hand delivery directing her to appear
and be deposed on June 10, 2005, in Memphis, Tennessee. Lester
failed to appear for her deposition noticed for June 10, 2005.

On June lO, 2005, Ford filed the present motion for a finding
of civil contempt. The motion was supported by the sworn
declaration of Alonzo Washington, attorney for Ford, declaring
under oath the facts certified herein. Pursuant to the motion, the
court issued a show cause order which directed Lester to appear on
June 30, 2005, at 10:30 a.m., and show cause why she should not be
compelled to give a deposition and why she should not be held in
contempt of court for failing to comply with a valid subpoena and
to appear for her deposition. Lester failed to appear, failed to
serve a written response, failed to notify the court that she would
not be present, and failed to seek a continuance or otherwise
object. Counsel for Ford appeared and asked that Lester be held in

contempt of court for failing to appear for her deposition and for

Case 2:05-mc-00026-.]DB-dkv Document 7 Filed 07/11/05 Page 4 of 7 Page|D 10

the show cause hearing.

ANALYSIS

Rule 45(e) of the Federal Rules of Civil Procedure provides
that “[f]ailure by any person without adequate excuse to obey a
subpoena served upon that person may be deemed a contempt of the
court from which the subpoena issued.” FHL R. Cnh P. 45(e). The
subpoena was issued from the Western District of Tennessee. it was
duly served upon Barbara Lester, she failed to obey the subpoena.
and failed to demonstrate an adequate excuse for her failure to
obey the subpoena. Accordingly, it is recommended that Lester be
held in contempt of court and detained until such time as she
purges herself of contempt by giving a deposition.

In addition, Section 636(e)(6) of the United States Magistrate
Judges Act provides that when a person commits an act in a
proceeding before a magistrate judge under 28 U.S.C. § 636(a) or
(b), which may constitute civil contempt, the magistrate judge
shall:

certify the facts to a judge of the district
court and may serve or cause to be served,
upon any person whose behavior is brought into
question under this paragraph, an order
requiring such person to appear before a
district judge upon. a day certain to show
cause why that person should not be adjudged
in contempt by reason of the facts so

certified.

28 U.S.C. 636(e)(6)(B)(iii). Contempts committed in “a proceeding

4

Case 2:05-mc-00026-.]DB-dkv Document 7 Filed 07/11/05 Page 5 of 7 Page|D 11

before a magistrate judge” include not only contempts committed in
the magistrate judge’s presence, but also contempts related to
proceedings before the magistrate judge. Taberer v. Armstrong
World Industries, Inc., 954 F.2d 888, 901 n.l7 & 902 n.19 (3rd Cir.
1992). In a proceeding before a magistrate judge, disobedience to
any lawful order may constitute contempt. 28 U.S.C. 636(e).

Here, Lester's conduct in failing to appear before the court
after being ordered to do so by the magistrate judge constitutes
disobedience to a lawful order and thus contempt before the
magistrate judge.2 Accordingly, it is submitted that the district
court should issue a show cause order to Lester to appear at a date
certain before the district court to show cause during a hearing
why she should not be held in contempt of court.

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It is recommended that Lester be held in contempt of court and
detained until such time as she purges herself of contempt by
giving a deposition and that the district court should issue a show

cause order to Lester to appear at a date certain before the

 

2 Whether civil contempt or criminal contempt is implicated

depends on the purpose of the charge. “If the purpose is
coercive or remedial (to secure compliance with the court's
order) or compensatory (to make the injured party whole), then
‘civil contempt' is implicated. If the purpose is punitive (to
vindicate the court's authority), then ‘criminal contempt' is
implicated.” Nsbkey v. Hoffius, 827 F. Supp. 450, 452 (S.D.
Mich. 1993).

Case 2:05-mc-00026-.]DB-dkv Document 7 Filed 07/11/05 Page 6 of 7 Page|D 12

district court to show cause during a hearing why she should not be
held in contempt of court. Ford is granted its attorney fees and
expenses in bringing this petition. Ford is directed to file an
affidavit of fees and expenses within eleven days of the date of

service of this order.

IT IS SO ORDERED this llth day of July, 2005.

/<Q/M/’t€ % V/AMW/

DIANE K. VESCOVOU
UNITED STATES MAGISTRATE JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-MC-00026 Was distributed by faX, mail, or direct printing on
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Honorable .1. Breen
US DISTRICT COURT

